           Case 2:09-cr-00005-JRG-RSP                      Document 248               Filed 11/12/09         Page 1 of 5 PageID #:
OAO 245B      (Rev. 09/08) Judgment in a Criminal Case            499
              Sheet 1


                                            United States District Court
                                                         EASTERN DISTRICT OF TEXAS
                                                                    Marshall
          UNITED STATES OF AMERICA                                         JUDGMENT IN A CRIMINAL CASE
                              V.
              AGATHA LORAINE MOORE
                                                                           Case Number:           2:09CR00005-007

                                                                           USM Number: 14348-078
                                                                            CRAIG HENRY
                                                                           Defendant’s Attorney
THE DEFENDANT:
✔pleaded guilty to count(s) Count 1 of the Information
G
G pleaded nolo contendere to count(s)
   which was accepted by the court.
G was found guilty on count(s)
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                    Nature of Offense                                                        Offense Ended                Count
      18 USC § 641                  THEFT OF PUBLIC MONEY                                                     05/06/2009                  1




       The defendant is sentenced as provided in pages 2 through                 5       of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
G The defendant has been found not guilty on count(s)
✔Count(s) 1, 11 and 12 of the Indictment
G                                                               G is      ✔
                                                                          G are dismissed on the motion of the United States.
         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.


                                                                           11/12/2009
                                                                          Date of Imposition of Judgment




                                                                          Signature of Judge

                                                                           T. JOHN WARD
                                                                            UNITED STATES DISTRICT JUDGE
                                                                          Name and Title of Judge


                             Hello This is a Test                                    11/12/09
                                                                          Date
                                                                                     2/15/05
           Case 2:09-cr-00005-JRG-RSP                     Document 248             Filed 11/12/09          Page 2 of 5 PageID #:
AO 245B      (Rev. 09/08) Judgment in a Criminal Case
             Sheet 4—Probation
                                                                 500
                                                                                                           Judgment—Page      2     of         5
DEFENDANT: AGATHA LORAINE MOORE
CASE NUMBER: 2:09CR00005-007
                                                                 PROBATION
The defendant is hereby sentenced to probation for a term of : 1 year




The defendant shall not commit another federal, state or local crime.
 The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of placement on probation and at least two periodic drug tests
thereafter, as determined by the court.
✔ The above drug testing condition is suspended, based on the court’s determination that the defendant poses a low risk of
G
       future substance abuse. (Check, if applicable.)
G      The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
G      The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
G      The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq .)
       as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides,
       works, is a student, or was convicted of a qualifying offense. (Check. if applicable.)

G      The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
    If this judgment imposes a fine or restitution, it is a condition of probation that the defendant pay in accordance with the Schedule of
Payments sheet of this judgment.
     The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

                                          STANDARD CONDITIONS OF SUPERVISION
  1)      the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)      the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of
          each month;
  3)      the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)      the defendant shall support his or her dependents and meet other family responsibilities;
  5)      the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
          acceptable reasons;
  6)      the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)      the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled
          substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)      the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)      the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
          felony, unless granted permission to do so by the probation officer;
 10)      the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
          contraband observed in plain view of the probation officer;
 11)      the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
 12)      the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
          permission of the court; and
 13)      as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant’s criminal
          record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
          defendant’s compliance with such notification requirement.
          Case 2:09-cr-00005-JRG-RSP                  Document 248     Filed 11/12/09       Page 3 of 5 PageID #:
AO 245B    (Rev. 09/08) Judgment in a Criminal Case
           Sheet 4A — Probation
                                                             501
                                                                                           Judgment—Page    3     of         5
DEFENDANT: AGATHA LORAINE MOORE
CASE NUMBER: 2:09CR00005-007

                                               ADDITIONAL PROBATION TERMS
 The defendant shall pay any financial penalty that is imposed by this judgment.

 The defendant shall provide the probation officer with access to any requested financial information for purposes of
 monitoring the restitution payments and her efforts to obtain and maintain lawful employment.

 The defendant shall not incur new credit charges or open additional lines of credit without the approval of the probation
 officer unless payment of any financial obligation ordered by the Court has been paid in full.

 The defendant shall not participate in any form of gambling unless payment of any financial obligation ordered by the Court
 has been paid in full.
          Case 2:09-cr-00005-JRG-RSP                   Document 248            Filed 11/12/09          Page 4 of 5 PageID #:
AO 245B   (Rev. 09/08) Judgment in a Criminal Case
          Sheet 5 — Criminal Monetary Penalties               502
                                                                                                  Judgment — Page      4      of
                                                                                                                                         5
DEFENDANT: AGATHA LORAINE MOORE
CASE NUMBER: 2:09CR00005-007
                                              CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                      Assessment                                    Fine                                 Restitution
TOTALS            $ 25.00                                         $ 0.00                              $ 3,579.00


G The determination of restitution is deferred until             . An Amended Judgment in a Criminal Case (AO 245C) will be entered
     after such determination.

✔ The defendant must make restitution (including community restitution) to the following payees in the amount listed below.
G
     If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
     the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
     before the United States is paid.

Name of Payee                                                         Total Loss*         Restitution Ordered       Priority or Percentage
  TEXAS WORKFORCE COMMISSION                                            $3,579.00                    $3,579.00                0%




                                                             $             3,579.00      $            3,579.00
TOTALS


G    Restitution amount ordered pursuant to plea agreement $

G    The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
     fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
     to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

✔
G    The court determined that the defendant does not have the ability to pay interest and it is ordered that:

                                                         ✔ restitution.
     ✔ the interest requirement is waived for the G fine G
     G
     G the interest requirement for the G fine G restitution is modified as follows:


* Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996.
          Case 2:09-cr-00005-JRG-RSP                          Document 248            Filed 11/12/09            Page 5 of 5 PageID #:
AO 245B     (Rev. 09/08) Judgment in a Criminal Case
            Sheet 6 — Schedule of Payments                           503
                                                                                                              Judgment — Page       5      of        5
DEFENDANT: AGATHA LORAINE MOORE
CASE NUMBER: 2:09CR00005-007

                                                        SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties are due as follows:

A     ✔ Lump sum payment of $
      G                                     25.00               due immediately, balance due

           G      not later than                                    , or
           G      in accordance           G C,         G D,    G      E, or    G F below; or
B     G    Payment to begin immediately (may be combined with                 G C,       G D, or       G F below); or
C     G    Payment in equal                    (e.g., weekly, monthly, quarterly) installments of $                       over a period of
                        (e.g., months or years), to commence                 (e.g., 30 or 60 days) after the date of this judgment; or

D     G    Payment in equal                    (e.g., weekly, monthly, quarterly) installments of $                     over a period of
                        (e.g., months or years), to commence                 (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or

E     G    Payment during the term of supervised release will commence within                  (e.g., 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

F     ✔ Special instructions regarding the payment of criminal monetary penalties:
      G
 The Court orders the restitution payments to begin immediately. Any amount that remains unpaid when the defendant's supervision commences is to be
 paid on a monthly basis at a rate of at least 10% of the defendant's gross income, to be changed during supervision, if needed, based on the defendant's
 changed circumstances, pursuant to 18 U.S.C. Section 3664(k). Additionally, at least 50% of receipts received from gifts, tax returns, inheritances,
 bonuses, lawsuit awards, andy any other receipt of money (to include, but not limited to, gambling proceeds, lottery winnings, and found money) must
 be paid toward the unpaid restitution balance within 15 days of receipt.


Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’ Inmate Financial
Responsibility Program, are made to: the U.S. District Court, Fine & Restitution Section, P.O. Box 570, Tyler, TX 75710.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



G     Joint and Several

      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.




G     The defendant shall pay the cost of prosecution.

G     The defendant shall pay the following court cost(s):

G     The defendant shall forfeit the defendant’s interest in the following property to the United States:




Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
